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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

Case Number: 19-cr-20450-SCOLA

UNITED STATES OF AMERICA,

Plaintiff,
Vv.

ALEX NAIN SAAB MORAN,

Defendant.
/

STIPULATION OF AUTHENTICITY OF DOCUMENTS

The United States of America (the “Government”) and defendant Alex Nain Saab Moran
(“SAAB MORAN”), pursuant to Local Rule 88.10(n), by and through their undersigned counsel,
hereby agree and stipulate to the matters set forth below in advance of the evidentiary hearing
regarding diplomatic immunity (scheduled to begin on December 12, 2022):

1. Each of the documents identified in the list below this paragraph is a fair and
accurate copy of the Official Gaceta of Venezuela from the source(s) identified in the list. These
documents meet the requirements for identification or authentication under Rule 902(3) and (5) of

the Federal Rules of Evidence.

Official Gaceta Number | Exhibit # Source(s)

No. 6.373 Extaordinario Gov’t 17 _| Imprenta Nacional Website

No. 6.373 Extaordinario Gov’t 18 | Supreme Court Tribunal Website

No. 6.373 Extaordinario Gov’t 19 | United States Library of Congress

No. 20.546 Gov’t 20B | United States Library of Congress

No. 6.688 Gov’t21 | Imprenta Nacional Website

GOVERNMENT

EXHIBIT
Case No.: 19-20450-CR-RNS

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No. 40.217 Gov’t 22; | Supreme Court Tribunal Website; United States
Gov’t 22B | Library of Congress

No. 6.147 Gov’t 23 | United States Library of Congress

No. 41.527 Gov’t 24; | Imprenta Nacional Website and United States
Gov’t 24B | Library of Congress

No. 30.634 Gov’t 25B | United States Library of Congress

No. 36.860 Gov’t 26B | United States Library of Congress

2. Each of the documents identified in the list below this paragraph is a fair and

accurate copy and translation of court opinions from the Republic of Cabo Verde related to the
Extradition of SAAB MORAN. These documents meet the requirements for identification or

authentication under Rule 902(3) and (5) of the Federal Rules of Evidence.

Court Exhibit # Date

Supreme Court of Justice Gov’t 1 March 16, 2021

Constitutional Court Gov’t 2 September 7, 2021

Barlavento Relations Court Gov’t 3; June 18, 2020

Defense BL

Criminal Court, District of Sal | Def. BK June 14, 2020

3 The document identified on the Government’s Exhibit List as Gov’t Ex. 4— Cabo
Verde Certificate of No Record is a fair and accurate copy of a Certification of No Record from
the Republic of Cabo Verde. The document meets the requirements for identification and

authentication under Rule 902(3)(A) of the Federal Rule of Evidence.
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4, The documents identified on the Government’s Exhibit List as Gov’t Ex 6 — Alex
Nain Saab Moran Venezuelan Passport and Gov’t Ex. 7 — Alex Nain Saab Moran Colombian
Passport, are fair and accurate copies of the Venezuelan and Colombian passports belonging to
SAAB MORAN obtained by Cabo Verde authorities following his detention in the Republic of
Cabo Verde on June 12, 2020.

a The document identified on the Government’s Exhibit List as Gov’t Ex. 9 — United
States State Department Certification is a fair and accurate copy of a State Department
Certification. The document meets the requirements for identification and authentication under

Rule 902(1) of the Federal Rule of Evidence.

Dated: December 8, 2022
Baker & Hostetler LLP

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